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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

             Plaintiff,                       Case No. 3:17-CV-00101-RDM
                                              (Hon. Robert D. Mariani)
             v.

Navient Corporation, et al.,                  Electronically Filed

             Defendants.

              PLAINTIFF’S OPPOSITION TO DEFENDANTS’
             MOTION FOR JUDGMENT ON THE PLEADINGS

      Plaintiff Consumer Financial Protection Bureau (“Bureau”) respectfully files

this brief in opposition to Defendants’ Motion for Judgment on the Pleadings (Doc.

504). Defendants’ motion is premised on the notion that, as a result of the Supreme

Court’s decision in Seila Law LLC v. CFPB, 2020 WL 3492641 (U.S. June 29,

2020), which held that the for-cause removal provision in the Consumer Financial

Protection Act (“CFPA”) is unconstitutional and severable from the CFPA, the

Court must dismiss the Bureau’s Complaint. The Court has already rejected

exactly this argument.

  COUNTER-STATEMENT OF FACTS AND PROCEDURAL HISTORY

      1.     Shortly after the Bureau filed its Complaint, Defendants moved to

dismiss it on numerous grounds, arguing, among other things, that the Bureau was

unconstitutional because the President could remove the Bureau’s Director only for
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cause. See Doc. 29, at 15-18. As the Bureau explained in its argument before this

Court, if the for-cause removal provision were held unconstitutional, that would

not affect the validity of the remainder of the CFPA because the provision is

severable. See Doc. 55, at 94-95 (citing 12 U.S.C. § 5302).

      In denying Defendants’ motion to dismiss, the Court thoroughly analyzed

the constitutional issues raised by Defendants and rejected them, including the

argument that the for-cause removal provision rendered the Bureau

unconstitutional. Doc. 57, at 21-43. The Court went on to hold that, even if the for-

cause removal provision were held unconstitutional, it could be severed from the

CFPA, and “the severance would not affect the CFPB’s ability to maintain the

present suit.” Doc. 57, at 43.

      After the Court denied Defendants’ motion to dismiss, Defendants filed their

answer. See Doc. 61. This case has now proceeded through discovery, and

summary judgment briefing is scheduled to be completed on August 18, 2020. See

Doc. 480, at ¶ 2.

      2.     Seila Law involved an action brought by the Bureau to enforce a civil

investigative demand (“CID”) issued to Seila Law LLC, a California-based law

firm that provides debt-related legal services to clients. 2020 WL 3492641, at *6.

(A CID is a form of compulsory process used by the Bureau to obtain information

before any decision to commence litigation. See 12 U.S.C. § 5562(c)(1).) The law


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firm refused to comply with the CID on the ground that the Bureau was

unconstitutional, and the Bureau brought suit in federal district court to enforce

compliance. 2020 WL 3492641, at *7. The district court ordered enforcement, the

Ninth Circuit affirmed, and the Supreme Court granted Seila Law’s petition for

certiorari. Id.

       In Seila Law, the Supreme Court held that while the CFPA’s for-cause

removal provision was unconstitutional, it could be severed from the remainder of

the CFPA (mirroring this Court’s conclusion from three years earlier). Id. at *22.

The Supreme Court stressed that its holding was a limited one and was not meant

to “trigger a major regulatory disruption” that “would leave appreciable damage to

Congress’s work in the consumer-finance arena.” Id. at *21. As the Supreme Court

noted, “The provisions of the [CFPA] bearing on the CFPB’s structure and duties

remain fully operative without the offending tenure restriction. Those provisions

are capable of functioning independently, and there is nothing in the text or history

of the [CFPA] that demonstrates Congress would have preferred no CFPB to a

CFPB supervised by the President. Quite the opposite.” Id. at *20 (emphasis in

original).

       In light of the lack of factual and legal development on the issue of

ratification, the Supreme Court declined to address ratification, and instead

remanded that issue to the lower courts. Id. at *19, 22. However, the Supreme


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Court specifically refused to endorse the view of Justice Thomas, who contended

that “the temporary involvement of an unconstitutionally insulated officer in an

otherwise valid prosecution requires dismissal.” Id. at *19 n.12.

       Subsequent to the decision in Seila Law, Director Kraninger, who is now

removable by the President at will, ratified the decision to file the Complaint in this

case. See Doc. 506-1. As the Bureau explained in its notice regarding that

ratification, in the wake of the decision in Seila Law rendering her removable at

will, the Bureau’s Director considered the basis for the decision to file the

Complaint in this proceeding, and then formally ratified that decision. See Doc.

506.

       Now, despite Director Kraninger’s ratification and this Court’s prior

decision on the issue of severability, Defendants argue that the Bureau’s case must

be dismissed.

                                   ARGUMENT

I.     The Court’s August 2017 Opinion remains correct, and the Bureau can
       continue to prosecute this lawsuit.

       In Seila Law, the Supreme Court specifically rejected the argument that

Seila Law was entitled to have the Bureau’s action dismissed. Instead, the Supreme

Court held that the only issues before it were whether the CFPA’s for-cause

removal provision was unconstitutional (it was), and whether the provision could

be severed from the CFPA (it could). With respect to the impact of its decision on

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the Bureau’s action, the Supreme Court remanded and left that up to the lower

courts. 2020 WL 3492641, at *22.

      This Court has already considered what should happen if the for-cause

removal provision were held unconstitutional and severable from the CFPA. In

support of their March 2017 Motion to Dismiss, Defendants argued that the

Bureau’s action would have to be dismissed. Doc. 43, at 7-8. Not so, said this

Court. Instead, the Court concluded that “in the event that the Bureau’s structure is

found to be unconstitutional and the problematic provisions are severed from the

CFP Act, the severance would not affect the CFPB’s ability to maintain the present

suit.” Doc. 57, at 43. The reason for this was that “the President [would then have]

the ability to make the determination as to whether or not he or she wishes for the

Director to continue with the present litigation.” Id. (citing Buckley v. Valeo, 424

U.S. 1 (1976), John Doe Co. v. CFPB, 849 F.3d 1129, 1133 (D.C. Cir. 2017)).1

Thus, as this Court has already held, the Supreme Court’s holding that the for-

cause removal provision is invalid and severable from the remainder of the CFPA

should not derail the Bureau’s enforcement action.



      1
        Although this Court cited Buckley, it did not, as Defendants mistakenly
suggest (Def. Br. at 2, 3), rely on Buckley’s holding and hold that the Bureau’s past
actions would be entitled to de facto validity. As explained above, what this Court
actually held was that an action such as this one could go forward because the
President, through the Bureau’s Director, could determine whether it should. Doc.
57, at 42-43.

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II.   Defendants’ contention that the Director’s cannot ratify this lawsuit is
      meritless.

      As the Bureau explained in its Notice Regarding Seila Law LLC v. CFPB

and Ratification (Doc. 506), in the wake of the decision in Seila Law rendering her

removable at will, the Bureau’s Director considered the basis for the decision to

file the Complaint in this proceeding, and then formally ratified that decision. See

also Doc. 506-1 (Director’s Declaration of Ratification). What this means is that

this matter now continues with the express approval of a Director who is fully

accountable to the President.

      Defendants argue that FEC v. NRA Political Victory Fund, 6 F.3d 821 (D.C.

Cir. 1993), supports dismissal, but they ignore a later decision by the same court

(indeed by the same judge): FEC v. Legi-Tech, Inc., 75 F.3d 704 (D.C. Cir. 1996).2

NRA Political Victory Fund involved a law enforcement action that was brought by




      2
         Defendants also contend that Lucia v. SEC, 138 S. Ct. 2044 (2018),
supports dismissal. Def. Br. at 8. It does not. After holding that the administrative
law judge who presided over Lucia’s trial had not been constitutionally appointed,
the Court held that Lucia was entitled to a new hearing before a properly appointed
official. Id. at 2055. Here, of course, the “hearing” is not at issue because it is
being conducted by this Court, not by any officer whose appointment is subject to
challenge. What has been called into question by Defendants is the issuance of the
Complaint in this proceeding. Thus, all that the Defendants are entitled to is a new
decision by a properly accountable official on whether to file that Complaint. They
got exactly that when the Bureau’s Director – who is now fully accountable to the
President – ratified that decision.


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an unconstitutionally structured agency and that was never ratified by a properly

constituted agency. The D.C. Circuit held that the FEC was unconstitutionally

structured because it included congressional members, and, being “aware of no

theory” that would allow it to do otherwise, the D.C. Circuit dismissed the

judgment. 6 F.3d at 827-28. Shortly after that decision, the FEC reconstituted itself

without the congressional members. It then ratified its ongoing enforcement

actions, including one against Legi-Tech. Legi-Tech argued, however, that it was

entitled to dismissal because, when the FEC had issued its complaint, it was still

unconstitutionally structured. The D.C. Circuit disagreed. The court held that

ratification by a properly constituted FEC was an adequate remedy for the

constitutional problem with the initial complaint. FEC v. Legi-Tech, 75 F.3d at

708-09. Thus, it allowed the FEC to continue with its enforcement action without

having “to return to square one.” Id. at 708.

       The situation here is very similar to Legi-Tech.3 In 2017, when the Bureau

issued its Complaint against Defendants, the for-cause removal provision still


      3
        However, this case bears no resemblance to CFPB v. RD Legal Funding,
LLC, 332 F. Supp. 3d 729, 784 (S.D.N.Y. 2018). See Def. Br. at 4. The court there
concluded that the for-cause removal provision was unconstitutional. But instead
of severing the provision, the court held that the unconstitutional removal
provision rendered the entire CFPA – and the Bureau along with it – invalid. Not
surprisingly, because the court believed that the Bureau should no longer exist, it
held that ratification was not an adequate remedy. 332 F. Supp. 3d at 785.



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purported to limit the President’s ability to remove the Bureau’s Director. But after

Seila Law, the Bureau’s Director ratified this action. 4 Now, as a result, this case

will go forward under the supervision of a Director who is directly responsible to

the President. Thus, this ratification cures any constitutional problem with the

issuance of the Complaint. See also CFPB v. Gordon, 819 F.3d 1179, 1190-92 (9th

Cir. 2016) (refusing to dismiss enforcement action initially approved by

unconstitutionally appointed official because properly appointed official later

ratified the action, and holding that the ratification “cures any Article II

deficiencies”).

      Defendants argue that a ratification at the present time by the Bureau’s

Director cannot be effective because the statute of limitations has now run on the

violations alleged in the Complaint. Def. Brief at 5-8. This heads-I-win-tails-you-

lose argument is simply wrong. The CFPA’s statute of limitations provides that,


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         Defendants contend that the Bureau could not ratify the Complaint until 25
days after the decision in Seila Law because that is when the judgment in that case
takes effect. Def. Brief at 8 n.6 (citing Texas v. United States, 798 F.3d 1108 (D.C.
Cir. 2015), and Sup. Ct. R. 45). But it is the Supreme Court’s judgments, not its
holdings, that are delayed for 25 days. See Sup. Ct. R. 45. This means that the
remand of Seila Law to the Ninth Circuit – the Supreme Court’s judgment – would
not occur for 25 days. No such delay applies to the Court’s conclusion that that
CFPA’s for-cause removal provision is unconstitutional and therefore inoperative.
Cf. In re Zermeno-Gomez, 868 F.3d 1048, 1052 (9th Cir. 2017) (decision by the
Ninth Circuit is binding on lower courts even before the mandate issues). As a
result, the Director was already removable at will on July 9, 2020 when she signed
her Declaration of Ratification.


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“[e]xcept as otherwise permitted by law or equity, no action may be brought under

[the CFPA] more than 3 years after the date of discovery of the violation to which

an action relates.” 12 U.S.C. § 5564(g)(1) (emphasis added).5 Defendants are

wrong to claim that even though the Bureau attempted to prosecute its claims in a

manner consistent with the CFPA, the statute of limitations in this case not only

began to run, but, in fact, expired before the Bureau could ever lawfully file suit.6

That is, Defendants contend that, prior to Seila Law, the Bureau was sufficiently

constitutional so that it could “discover” violations of the CFPA and begin the



      5
         Defendants suggest that even shorter statutes of limitations apply to Counts
IX – XI because those counts allege violations of the Fair Debt Collection
Practices Act (“FDCPA”) and the Fair Credit Reporting Act (“FCRA”). Def. Brief
at 1 n.1, 8 & n.7. But what Defendants miss is that when the Bureau enforces those
acts, violations are “deemed to be a violation” of the CFPA. 15 U.S.C. § 1681s(d)
(FCRA); 15 U.S.C. § 1692l(c) (FDCPA). To “deem” means “[t]o treat
(something) as if [] it were really something else.” Black’s Law Dictionary (10th
ed. 2014). Thus, by providing that a violation of those acts “shall be deemed” a
violation of the CFPA, Congress provided that violations should be treated as if
they were violations of the CFPA. Therefore, the same statute of limitations
applies to Counts IX – XI as applies to the other counts of the Complaint.
      6
         Defendants misrepresent the record and suggest that the Bureau has taken
the position that the date of discovery is irrelevant to its claims. See Def. Brief at 7
n.5. The quote used by Defendants was in response to an interrogatory from
Defendant Pioneer Credit Recovery, Inc. (“Pioneer”) asking the Bureau when it
discovered the violations against Pioneer. The Bureau simply noted that, with
respect to Pioneer’s legal violations, the Bureau was “only asserting claims for
violations that occurred . . . within three years of the filing of the Complaint,” and
thus those claims were of course timely “discovered” within three years of the
filing of the Complaint. See Doc. 471, at Ex. 209 at *4-*6.


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ticking of the statute of limitations clock, but was insufficiently constitutional to

file a complaint and stop the running of that clock.

      Defendants do not cite any case in which a statute of limitations was

construed to run before a party (let alone the federal government) could lawfully

file suit and obtain relief. Cf. Johnson v. United States, 544 U.S. 295, 305 (2005)

(calling it “highly doubtful” that Congress intended a time limit on pursuing a

claim to expire before the claim arose).7 This is not surprising. “Statutes of

limitations are designed to encourage plaintiffs to pursue diligent prosecution of

known claims.” California Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct.

2042, 2049 (2017) (quotation omitted). The Bureau certainly did that with respect

to Defendants. See generally id. (“[L]imitations periods begin to run when the

cause of action accrues—that is, when the plaintiff can file suit and obtain relief.”)

(quotation omitted, emphasis added).

      Moreover, the CFPA’s statute of limitations applies “[e]xcept as otherwise

permitted by law or equity[.]” 12 U.S.C. § 5564(g)(1). Here, equity surely




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         Neither Benjamin v. V.I. Port Authority, 684 Fed. Appx. 207 (3d Cir.
2017), nor FEC v. NRA Political Victory Fund, 513 U.S. 88 (1994), is such a case.
In both of those cases, the court rejected ratification because the party attempting
to ratify the agent’s action could have, but failed to, ratify within the limitations
period. That is not the situation here because the Bureau’s Director could not have
corrected the constitutional flaw in the filing of the Bureau’s Complaint until after
the Supreme Court issued its decision in Seila Law.

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permitted the Bureau, now that it is led by a Director who is removable by the

President at will, to ratify claims it had already brought during the limitations

period. Indeed, courts have equitably tolled the application of a statute of

limitations where “the claimant has actively pursued his judicial remedies by filing

a defective pleading during the statutory period.” Irwin v. Dep’t of Veterans

Affairs, 498 U.S. 89, 96 & nn.3-4 (1990); see also D.J.S.-W. v. United States, 962

F.3d 745, 749-52 (3d Cir. 2020) (holding that equitable tolling is appropriate if the

plaintiff has pursued its rights diligently, and some extraordinary circumstance

prevented timely filing). This is because statutes of limitations “assure fairness to

defendants” and “promote justice by preventing surprises through the revival of

claims that have been allowed to slumber until evidence is lost, memories have

faded, and witnesses have disappeared.” Island Insteel Sys., Inc. v. Waters, 296

F.3d 200, 215–16 (3d Cir. 2002) (quoting Burnett v. N.Y. Cent. R.R. Co., 380 U.S.

424, 428 (1965)). Allowing the Bureau to continue to prosecute its claims in light

of the Director’s ratification risks no unfair surprise or other injustice to

Defendants because the Bureau timely filed its claims and the parties have already

completed discovery. See Advanced Disposal Servs. E., Inc. v. NLRB, 820 F.3d

592, 603–04 (3d Cir. 2016) (“[W]e are quick to note that as an equitable remedy,

ratification has been applied flexibly and has often been adapted to deal with

unique and unusual circumstances.”).


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                                 CONCLUSION

      Because this Court has already held that this proceeding could continue even

if the CFPA’s for-cause removal provision were held unconstitutional, and because

the Bureau’s Director has ratified the Bureau’s decision to file the Complaint, the

Bureau respectfully requests that the Court deny Defendant’s Motion for Judgment

on the Pleadings.




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Dated: July 24, 2020         Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that on July 24, 2020, I filed the foregoing document with the

Court’s ECF system, which will send notification of such filing to counsel for

Defendants.

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